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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Hezekiah Hamilton
                              Plaintiff,
v.                                                 Case No.: 1:15−cv−07592
                                                   Honorable Virginia M. Kendall

                              Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 6, 2018:


        MINUTE entry before the Honorable Virginia M. Kendall. Status hearing held on
8/6/2018. Plaintiff appeared telephonically. By agreement of parties, case is dismissed
without prejudice with leave to re−file within 60 days of final judgment of criminal case.
Plaintiff is directed to re−file case under the original case number 15 C 7592 and not
under a new number. Civil case terminated. Mailed notice(lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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